  Case 19-12423-CMG            Doc 52      Filed 09/13/22 Entered 09/13/22 12:58:28           Desc Main
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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY
    Caption in Compliance with D.N.J. LBR 9004-1
                                                                        Order Filed on September 13, 2022
    5HEHFFD6RODU], Esq.
                                                                        by Clerk
    KML Law Group, P.C.                                                 U.S. Bankruptcy Court
    701 Market Street, Suite 5000                                       District of New Jersey
    Philadelphia, PA 19106
    Main Number: (609) 250-0700                           Case No: 19-12423 CMG
    UVRODU]@kmllawgroup.com                               Chapter: 13
    Attorneys for the Secured Creditor                    Judge: Christine M. Gravelle
    PNC Bank, National Association



    In re:
    Stephanie M. Strother

                              Debtor




      Recommended Local Form:                       Followed                     Modified




                                         ORDER VACATING STAY

   The relief set forth on the following page is hereby ordered ORDERED.




DATED: September 13, 2022
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       Upon the motion of PNC Bank, National Association, under
Bankruptcy Code section 362(a) for relief from the automatic stay as to certain property as
hereinafter set forth, and for cause shown, it is


       ORDERED that the automatic stay is vacated to permit the movant to institute or resume
and prosecute to conclusion one or more actions in the court(s) of appropriate jurisdiction to
pursue the movant’s rights in the following:

              Real Property More Fully Described as:

               Land and premises commonly known as 307 Wimbeldon Ct, North Brunswick NJ
               08902


               Personal Property More Fully Describes as:




       It is further ORDERED that the movant may join the debtor and any trustee appointed in
this case as defendants in its action(s) irrespective of any conversion to any other chapter of the
Bankruptcy Code.


       The movant shall serve this order on the debtor, any trustee and any other party who
entered an appearance on the motion.
